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                       1 Leonard M. Shulman - Bar No. 126349
                         Rika M. Kido - Bar No. 273780
                       2 Lauren Raya - Bar No. 322697
                         SHULMAN HODGES & BASTIAN LLP
                       3 100 Spectrum Center Drive, Suite 600
                         Irvine, California 92618
                       4 Telephone:      (949) 340-3400
                         Facsimile:      (949) 340-3000
                       5 Email:          LShulman@shbllp.com
                                         RKido@shbllp.com
                       6                 LRaya@shbllp.com

                       7 Attorneys for Lynda T. Bui, Chapter 7 Trustee

                       8                          UNITED STATES BANKRUPTCY COURT

                       9              CENTRAL DISTRICT OF CALIFORNIA, RIVERSIDE DIVISION

                     10

                     11 In re                                                Case No. 6:19-bk-11189-MH

                     12 MITCHELL C. NELSON,                                  Chapter 7

                     13                 Debtor.                              Adv No.

                     14                                                      COMPLAINT FOR:
                        LYNDA T. BUI, solely in her capacity as the
                     15 Chapter 7 trustee for the bankruptcy estate          (1) BREACH OF CONTRACT;
                        of Mitchell C. Nelson,
                     16                                                      (2) BREACH OF ORAL CONTRACT;
                                       Plaintiff,
                     17                                                      (3) ACCOUNT STATED;
                               vs.
                     18                                                      (4) BREACH OF THE IMPLIED
                        LEONARD E. WARD, an individual,                      COVENANT OF GOOD FAITH AND
                     19                                                      FAIR DEALING;
                                       Defendant.
                     20                                                      (5) UNJUST ENRICHMENT [11 U.S.C. §
                                                                             105];
                     21
                                                                             (6) TURNOVER OF PROPERTY OF THE
                     22                                                      ESTATE [11 U.S.C. § 542]; AND

                     23                                                      (7) DISALLOWANCE OF CLAIMS [11
                                                                             U.S.C. § 502(d)]
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                       1          Lynda T. Bui, solely in her capacity as the duly appointed, qualified and acting Chapter 7

                       2 Trustee (“Trustee” or “Plaintiff”) for the bankruptcy estate (“Estate”) of Mitchell C. Nelson

                       3 (“Debtor”) respectfully complains and alleges as follows:

                       4                            STATE OF JURISDICTION AND VENUE

                       5          1.     This adversary proceeding is filed pursuant to Federal Rule of Bankruptcy Procedure

                       6 7001(1)- a proceeding to recover money or property. Plaintiff, as the Chapter 7 Trustee of the Estate

                       7 has standing to bring this action pursuant to 11 U.S.C. §§ 323, 502, 544, and 550.

                       8          2.     The Court has jurisdiction over this adversary proceeding pursuant to 28 U.S.C. §§

                       9 157 and 1334 in that this action arises in and relates to the bankruptcy case pending in the United

                     10 States Bankruptcy Court for the Central District of California, Riverside Division entitled In re

                     11 Mitchell C. Nelson, Case No. 6:19-bk-11189-MH on the docket of the Court.

                     12           3.     This action is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A)- matters

                     13 concerning the administration of the estate, and (b)(2)(O)- other proceedings affecting the

                     14 liquidation of the assets of the estate. To the extent any related claims are determined not to be a

                     15 core proceeding, the Plaintiff consents to an entry of final judgment and orders by the Bankruptcy

                     16 Court.

                     17           4.     Venue is proper in this District pursuant to 28 U.S.C. § 1409, as this adversary

                     18 proceeding arises under Title 11 or arises under or relates to a case under Title 11 which is pending

                     19 in this District and does not involve a consumer debt less than $20,450.00.

                     20           5.     To the extent that Plaintiff asserts claims under 11 U.S.C. § 544, the Plaintiff is

                     21 informed and believes and based thereon alleges that there exists in this case one or more creditors

                     22 holding unsecured claims under 11 U.S.C. § 502 or are not allowable under 11 U.S.C. § 502(e), who

                     23 can avoid the respective transfers are set forth hereafter under California or other applicable law.

                     24                                                PARTIES

                     25           6.     Plaintiff is the duly appointed, qualifying and acting Chapter 7 trustee for the Estate
                     26 and brings the claims asserted herein in that capacity.

                     27           7.     Plaintiff is informed and believes and, on that basis, alleges that defendant Leonard
                     28 E. Ward (“Defendant”) was and is now an individual residing in Lake Elsinore, California.
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                       1                                   GENERAL ALLEGATIONS

                       2         8.      On or about May 26, 2016, Debtor sold his commercial property where he operated

                       3 his manufacturing business. During the closing process, Debtor met Defendant as he helped Debtor

                       4 close up the business and clean out the commercial property. Defendant is a scrap dealer and was

                       5 assisting the Debtor in removing various scrap metal.

                       6         9.      During this time, in or around May 2016, Defendant asked Debtor for a small

                       7 business loan to grow his clean up and scrap metal hauling business. Defendant represented that he

                       8 had the ability to repay the loan with anticipated recovery of damages from a pending civil suit

                       9 pertaining to wrongful incarceration.

                     10          10.     On or about October 3, 2016, Debtor and Defendant executed a promissory note

                     11 (“Note”) to document the business loan. A true and correct copy of the Note is attached hereto as

                     12 Exhibit “1.” The Note provided for the principal amount of $65,000.00 and $10,000.00 in interest

                     13 for a total amount of $75,000.00 to be paid by December 1, 2016.

                     14          11.     Defendant did not make any payments on the Note and continued to borrow

                     15 additional monies from Debtor throughout 2017 and 2018. Defendant continued to assure Debtor

                     16 that he would be able to pay Debtor back as soon as his civil suit was resolved.

                     17          12.     Trustee is informed and believes every check issued by Debtor to Defendant included

                     18 a note in the memo line referencing the payment as a loan.

                     19          13.     From May 2016 to September 2018, Debtor had loaned Defendant upwards of

                     20 $2,700,000.00 with no repayments being made by the Defendant.

                     21          14.     On or about October 25, 2018, Debtor made a written demand (“Demand”) on

                     22 Defendant for the immediate payment of the full amount owed of $2,707,000.00 to be repaid by

                     23 November 8, 2018. As of the date of this filing, no amounts have been repaid. A true and correct

                     24 copy of the Demand is attached hereto as Exhibit “2.”

                     25          15.     Plaintiff is informed and believes, and on that basis, alleges Defendant

                     26 acknowledged the full amount owed of $2,707,000.00 and that he has the obligation to repay the

                     27 full amount.

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                       1                                   FIRST CAUSE OF ACTION

                       2                                        (Breach of Contract)

                       3          16.    Plaintiff hereby repeats, repleads, and incorporates herein by reference as though

                       4 fully set forth herein at this point each and every allegation contained in Paragraphs 1 through 15

                       5 above.

                       6          17.    On or about October 3, 2016, Debtor and Defendant entered into a written contract

                       7 whereby Debtor agreed to loan Defendant $65,000.00 for Defendant’s business expansion. The

                       8 Note was executed to document the loan which provided for a total repayment of $75,000.00,

                       9 including interest.

                     10           18.    On or about December 1, 2016 the Note became due and payable. Defendant has

                     11 failed to repay any monies to the Debtor and therefore has breached his agreement to pay under the

                     12 Note.

                     13           19.    Debtor has performed all conditions and covenants required of him under the terms

                     14 of the Note.

                     15           20.    Plaintiff has and will incur attorneys’ fees in connection with this matter, in an

                     16 amount to be determined at trial, which fees Plaintiff is entitled to recover from Defendant pursuant

                     17 to Civil Code section 1717.5.

                     18           21.    As a direct and proximate result of Defendant’s acts as alleged herein, Debtor has

                     19 suffered damages of at least $75,000.00 on account of the Note, according to proof at the time of

                     20 trial.

                     21                                   SECOND CAUSE OF ACTION

                     22                                      (Breach of Oral Contract)
                     23           22.    Plaintiff hereby repeats, repleads, and incorporates herein by reference as though
                     24 fully set forth herein at this point each and every allegation contained in Paragraphs 1 through 15

                     25 above.

                     26           23.    In or about January 2017, Defendant entered into an oral contract with Debtor
                     27 whereby Debtor agreed to continue to loan money for Defendant’s business expansion. Defendant

                     28 continued to promise repayment of the loan as soon as his civil suit was resolved.
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                       1         24.      Plaintiff is informed and believes, and on that basis alleges, Defendant has

                       2 acknowledged that he has repeatedly breached the oral contract and that the amount of

                       3 $2,632,000.00 is now due and owing.

                       4         25.      Debtor performed all conditions and covenants required of him under the terms of

                       5 the oral contract.

                       6         26.      Defendant breached the oral contract by failing to repay the amount of

                       7 $2,632,000.00.

                       8         27.      As a direct and proximate result of Defendant’s actions as alleged herein, Debtor has

                       9 suffered damages of at least $2,632,000.00 on account of the oral contract, according to proof at

                     10 time of trial.

                     11          28.      Wherefore, Debtor prays for judgment as hereinafter stated.

                     12                                     THIRD CAUSE OF ACTION

                     13                                            (Account Stated)
                     14          29.      Plaintiff hereby repeats, repleads, and incorporates herein by reference as though
                     15 fully set forth herein at this point each and every allegation contained in Paragraphs 1 through 15

                     16 above.

                     17          30.      On or about October 25, 2018, accounts were stated in writing between Debtor and
                     18 Defendant, with a balance totaling $2,707,000.00 found to be due from Defendant to Debtor.

                     19 Defendant agreed to pay such balance.

                     20          31.      Defendant has failed to pay any of the agreed balance despite Debtor’s demands for
                     21 payment and the amount of $2,707,000.00 is still due and owing.

                     22          32.      Plaintiff has and will incur attorneys’ fees in connection with this matter, in an
                     23 amount to be determined at trial, which fees is entitled to recover from Defendant pursuant to Civil

                     24 Code section 1717.5.

                     25 ///

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                       1                                    FOURTH CAUSE OF ACTION

                       2                 (Breach of the Implied Covenant of Good Faith and Fair Dealing)

                       3          33.     Plaintiff hereby repeats, repleads, and incorporates herein by reference as though

                       4 fully set forth herein at this point each and every allegation contained in Paragraphs 1 through 28

                       5 above.

                       6          34.     There was implied in all of the oral and written agreements between Debtor and

                       7 Defendant a covenant of good faith and fair dealing whereby Defendant impliedly covenanted that

                       8 he would in good faith and in the exercise of fair dealing, deal with Debtor fairly and honestly and

                       9 do nothing to impair, interfere with, hinder, or potentially injure its rights.

                     10           35.     As alleged herein, Defendant breached the covenant of good faith and fair dealing

                     11 by his acts to evade the spirit of the bargain between Defendant and Debtor.

                     12           36.     Debtor performed each and every covenant and condition of its agreement with

                     13 Defendant.

                     14           37.     As a proximate result of the acts of Defendant as alleged herein, Plaintiff has

                     15 sustained damages in an amount according to proof at trial.

                     16                                      FIFTH CAUSE OF ACTION

                     17                                  (Unjust Enrichment [11 U.S.C. § 105])
                     18           38.     Plaintiff hereby repeats, repleads, and incorporates herein by reference as though
                     19 fully set forth herein at this point each and every allegation contained in Paragraphs 1 through 37

                     20 above.

                     21           39.     The Defendant has received the benefit of $2,707,000.00 by possession and use
                     22 thereof.

                     23           40.     In giving money to Defendant, Debtor was clear that the money was a business loan
                     24 and expected the money to be repaid. Defendant has accepted the benefits of receiving the money

                     25 from Debtor but has not made any repayments on the loan.

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                       1          41.     The Defendant has been unjustly enriched therefore and it would be inequitable for

                       2 the Defendant to be allowed to retain the benefits of the loan without being ordered to repay to the

                       3 Plaintiff the sum of $2,707,000.00, together with interest at the legal rate, late charges and attorneys’

                       4 fees according to proof.

                       5                                     SIXTH CAUSE OF ACTION

                       6                        (Turnover of Property of the Estate [11 U.S.C. § 542])

                       7          42.     Plaintiff hereby repeats, repleads, and incorporates herein by reference as though

                       8 fully set forth herein at this point each and every allegation contained in Paragraphs 1 through 15

                       9 above.

                     10           43.     Defendant is wrongly in possession, custody and control of $2,707,000.00 which is

                     11 property of the Estate and Defendant does not have Plaintiff’s consent to be in possession of these

                     12 funds.

                     13           44.     Plaintiff is entitled to use the $2,707,000.00 for the benefit of the Estate under 11

                     14 U.S.C. § 363.

                     15           45.     Defendant shall deliver to the Plaintiff the full amount of $2,707,000.00 and account

                     16 for the full amount.

                     17                                    SEVENTH CAUSE OF ACTION

                     18                      (Disallowance of Claims by Defendant [11 U.S.C. § 502(d)])
                     19           46.     Plaintiff hereby repeats, repleads, and incorporates herein by reference as though
                     20 fully set forth herein at this point each and every allegation contained in Paragraphs 1 through 15

                     21 above.

                     22           47.     The Defendant has not paid the amount or turned over any such property for which
                     23 the Defendant is liable under 11 U.S.C. §§ 502(i), 542, 543, 544, 550 or 553.

                     24           48.     Pursuant to 11 U.S.C. § 502(d), to the extent the Defendant files a claim against the
                     25 Estate, such claims should be disallowed.

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                       1          WHEREFORE, Plaintiff prays for a judgment against Defendant as follows:

                       2 ON THE FIRST CAUSE OF ACTION:

                       3          1.      For general damages in the sum of at least $75,000.00, according to proof at the time

                       4 of trial; and

                       5          2.      For attorneys’ fees and costs pursuant to Civil Code section 1717.5.

                       6 ON THE SECOND CAUSE OF ACTION:

                       7          3.      For general damages in the sum of at least $2,632,000.00, according to proof at the

                       8 time of trial.

                       9 ON THE THIRD CAUSE OF ACTION:

                     10           4.      For general damages in the sum of at least $2,707,000.00; and
                     11           5.      For attorneys’ fees and costs pursuant to Civil Code section 1717.5.
                     12 ON THE SIXTH CAUSE OF ACTION:

                     13           6.      Declaring that the $2,707,000.00 is property of the Estate; and
                     14           7.      Declaring that the Plaintiff is entitled to sole possession, custody and control of the
                     15 $2,707,000.00.

                     16 ON THE SEVENTH CAUSE OF ACTION:

                     17           8.      That, if Defendant fails or refuses to turnover the recoverable property under 11
                     18 U.S.C. § 550, any claim of Defendant shall be disallowed pursuant to 11 U.S.C. § 502(d).

                     19 ON ALL CAUSES OF ACTION:

                     20           9.      For prejudgment interest at the highest legal rate;
                     21           10.     For post-judgment interest at the highest legal rate;
                     22           11.     For attorneys’ fees and costs of suit;
                     23           12.     For such other and further relief as the Court may deem just and proper.
                     24                                               SHULMAN HODGES & BASTIAN LLP
                     25 DATED: August 6, 2019                         By:          /s/ Lauren Raya
                     26                                                     Leonard M. Shulman
                                                                            Rika M. Kido
                     27                                                     Lauren Raya
                                                                            Attorneys for Lynda T. Bui, Chapter 7 Trustee
                     28
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                                       PROMISORY NOTE




   I Leonard Ward, acknowledge a loan received from Mitch Nelson in the
   amount of $65,000.00.


   In consideration of said loan I agree to repay Mitch Nelson the principle
   amount as well as $10,000.00 interest for a total due of $75,000.00.


   The total amount shall be paid by December 1, 2016.




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                                                   /,?
   Leonard Ward          )                / /J
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       10/25/2018

       Leonard E Ward
       108 N. Lowell Street
       Lake Elsinore, CA 92563


       Dear Mr. Ward
       Re: Letter of Demand - Outstanding Loan
       I am writing In reference to the loan(s) that I have forwarded to you over the past two
       plus years. As you know, I have still not received any payment from you in regard to
       those loans.
       Beginning in May of 2016, you approached me with the purpose of borrowing money
       so that you could grow your business which performed clean up and scrap metal
       hauling. You described to me what you called the many wrongs you were subjected
       to and that were committed by the legal and judicial system.
       You showed me that you had a pending civil suit pertaining to your over
       incarceration and wrongful incarceration. You assured me you would be able to pay
       me back the money that summer with interest, and that this civil suit guaranteed your
       ability to repay the loan. Over time the loan amount loaned grew as more money
       was requested by you and supplied by me. By October 3, 2016, the amount of the
       loan had grown so much that we agreed to document the loan as a Promissory Note
       for the amount of $75,000.00 and agreed, you would pay me back on or before
       December 1,2016. You signed the promissory note and a copy is attached.
       Subsequently instead of paying back the debt that was owed, you instead requested
       and were loaned by me, additional funds in 2017 and 2018. You agreed that these
       individual loans were in principle covered by and included in the scope of the original
       promissory note.
       Unfortunately, the civil suit was a sham and eventually that case was dismissed due
       to significant procedural errors in regard to your filings. To date, contrary to your
       assurances, it appears that the chances of anyone successfully prosecuting your
       Mease" appears to be minimal.
       Attached is a list of checks by number with their respective issue dates and amounts.
       Each check is written to Leonard Ward and marked on the face as a loan. Each
       check was negotiated by yourself with a financial institution and you took possession
       of the money. Images of each check are on file electronically with my own bank
       showing the check face indicating it is a loan, your signature endorsement and the
       financial institutions processing stamp.
      During 2018, you began requesting I loan you cash instead of checks and attached
      is a list of dates and amounts of each cash loan. With the delivery of $300,000.00
      on August 29 you again assured me you would repay the loan within 2 weeks.
      Instead on September 4, 2018 you requested another $300,000.00 which I was
      unable to provide you.
      The attached documents show the total amount loaned to you is $2.707,000.00.




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      Since September 7, 2018, you have refused to answer either your cell or home
      phone the multiple times I have called.
      I demand full payment of the outstanding amount within two weeks of the date of this
      letter.
      If this matter is not resolved by the timj9 specified above, I reserve the right to
      commence . legal proceedings to recover the debt without further notice to you and
      this letter may be tendered in court as evidence of your failure to pay. Legal action
      may result in you having to pay legal costs.
      Should you wish to contact me to discuss, my telephone number is 951-852-5289.


      Yours sincerely,




       /Jf,,-t�/4/'�
      Mitchell Nelson




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                               PROMISORY NOTE




   I Leonard Ward, acknowledge a loan received from Mitch Nelson in the
   amount of $65,000.00.


   In consideration of said loan I agree to repay Mitch Nelson the principle
   amount as well as $10,000.00 interest for a total due of $75,000.00.


   The total amount shall be paid by December 1, 2016.




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   Leonard Ward
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�           CHECKS TO LEONARD WARD FOR LOAN

                 2-Sep-16 check 1266       $       1,000.00
               12-Sep-16 check 1267        $       1,000.00
               12-Sep-16 check 5515        $       7,000.00
                  2-Oct-16 check 5516      $       3,000.00
                 6-Oct-16 check 5517       $       5,000.00
                  6-Oct-16 check 5518      $       4,000.00
                  6-Oct-16 check 5519      $       1,000.00
                11-Oct-16 check 1268       $       1,000.00
                14-Oct-16 check 5521       $'     24,000.00
                24-Oct-16 check 5522       $      25,000.00
                26-Oct-16 check 5523       $      30,000.00
                27-Oct-16 check 5524       $      30,000.00
               10-Nov-16 check 5525        $     100,000.00
               16-Nov-16 check 5533        $     100,000.00
                 6-Dec-16 check 5534       $     100,000.00
                 8-Dec-16 check 5536       $      30,000.00
�
               13-Oec-16 check 5538        $     100,000.00
               23-Dec-17 check 5539        $     150,000.00
                  7-Jan-17 check 5541      $     200,000.00
                 1-Feb-17 check 5542       $      80,000.00
                 2-Feb-17 check 5543       $      30,000.00
                27-Feb-17 check 5544       $     100,000.00
               27-Mar-17 check 5545        $     100,000.00
                19-Apr-17 check 5546       $     100,000.00
                 20-Jul-17 check 5547      $      65,000.00
                  1-Oct-17 check 5548      $     100,000.00
                    25-Oct check 5550      $      15,000.00
                    26-Oct check 5576      $     100,000.00
                   16-Nov check 5577       ,$     50,000.00
               24-Mar-18 check 5651        $       7,000.00
                23-Apr-18 check 5655       $      40,000.00
               4/25/2018 check 5656        $       5,000.00
�
                 5/7/2018 check 5657       $      40,000.00

            TOTAL CHECKS                   $    1,744,000.00


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            CASH WITHDRAWALS FOR LEONARD WARD
�
                 5-Jan-18 cash        $        500.00
               15-Jan-18 cash         $        500.00
               15-Jan-18 cash         $        500.00
               11-Feb-18 cash         $        500.00
               11-Feb-18 cash         $        500.00
                 9-Apr-18 cash        $        500.00
                 9-Apr-18 cash        $        200.00
               10-Apr-18 cash         $        500.00
               18-Apr-18 cash         $        500.00
                 8-Apr-18 cash        $        500.00
               22-Apr-18 cash         $        500.00
               3-May-18 cash          $        500.00
               3-May-18 cash          $        500.00
                5-May-18 cash         $        500.00
               5-May-18 cash          $        500.00
               3-May-18 cash          $        500.00
�              3-May-18 cash          $       .500.00
                7-May-18 cash         $     1,500.00
               7-May-18 cash          $     3,500.00
              15-May-18 cash          $     . 500.00
              15-May-18 cash          $     1,000.00
              16-May-18 cash          $   25,000.00
              16-May-18 cash          $   20,000.00
              23-May-18 cash          $     1,000.00
              23-May-18 cash          $   80,000.00
              18-May-18 bond/cash     $   15,000.00
              29-May-18 cash          $     1,500.00
                 2-Jun-18 cash        $        500.00
                 2-Jun-18 cash        $        500.00
                 4-Jun-18 cash        $        500.00
                 7-Jun-18 cash        $     1,000.00
                 7-Jun-18 cash        $   20;000.00
               11-Jun-18 cash         $     1,500.00
               12-Jun-18 cash         $     5,000.00
               27-Jun-18 cash         $   · 1,000.00



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                 4-Jul-18 cash        $        500.00
�                4-Jul-18 cash        $        500.00
                 6-Jul-18 cash        $    14,500.00
                 6-Jul-18 cash        $      1,500.00
                 7-Jul-18 cash        $      1,000.00
                 7-Jul-18 cash        $      4,500.00
                 8-Jul-18 cash        $       -500.00
                10-Jul-18 cash        $    20,000.00
                20-Jul-18 cash        $      1,000.00
                21-Jul-18 cash        $      1;000.00
                22-Jul-18 cash        $      1,000.00
                23-Jul-18 cash        $    50,000.00
                24-Jul-18 cash        $        500.00
                26-Jul-18 cash        $    16,000.00
                26-Jul-18 cash        $      1,000.00
                   2-Aug cash         $   150,000.00
                4-Aug-18 cash         $    10,000.00
               10-Aug-18 cash         $   200,000.00
�               9-Aug-18 cash         $        500.00
               10-Aug-18 cash         $        500.00
               11-Aug-18 cash         $      1,500.00
               22-Aug-18 cash         s     · 500.00
               29-Aug-18 cash         $   300,000.00

            TOTAL CASH                $   963:100.00




                                                                      EXHIBIT 2
 Case 6:19-ap-01112-MH                Doc 1 Filed 08/06/19 Entered 08/06/19 13:56:04                            Desc
                                      Main Document    Page 18 of 21

3/31/2017                                         INTEREST CHECKING 0008 - Check 0005525



        Mitchell Nelson                                                                     5525
        Linda E Nelson                                                                     9().a198/.m2
        39651 Ba� Place
        �CA.92562

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                                                                               EXHIBIT 2
               Case 6:19-ap-01112-MH                             Doc 1 Filed 08/06/19 Entered 08/06/19 13:56:04                                Desc
                                                                 Main Document    Page 20 of 21
    B1040 (FORM 1040) (12/15)

                ADVERSARY PROCEEDING COVER SHEET                                                   ADVERSARY PROCEEDING NUMBER
                                                                                                     &RXUW8VH2QO\ 
                        ,QVWUXFWLRQVRQ5HYHUVH 

PLAINTIFFS                                                                            DEFENDANTS
LYNDA T. BUI, solely in her capacity as Chapter 7                                    LEONARD E. WARD, an individual
Trustee for the bankruptcy estate of Mitchell C. Nelson

 ATTORNEYS )LUP1DPH$GGUHVVDQG7HOHSKRQH1R                                     ATTORNEYS ,I.QRZQ 
Leonard M. Shulman - Bar No. 126349
Rika M. Kido - Bar No. 273780
Lauren Raya - Bar No. 322697
SHULMAN HODGES & BASTIAN LLP
100 Spectrum Center Drive, Suite 600, Irvine, California 92618
Telephone: (949) 340-3400



 PARTY &KHFN2QH%R[2QO\                         PARTY &KHFN2QH%R[2QO\ 
 Ƒ 'HEWRU    Ƒ 867UXVWHH                        Ƒ 'HEWRU      Ƒ 867UXVWHH
 Ƒ &UHGLWRU  Ƒ 2WKHU                               Ƒ &UHGLWRU    Ƒ 2WKHU
 Ƒ 7UXVWHH                                         Ƒ 7UXVWHH
 CAUSE OF ACTION :5,7($%5,()67$7(0(172)&$86(2)$&7,21,1&/8',1*$//8667$787(6,192/9(' 
COMPLAINT FOR: (1) BREACH OF CONTRACT; (2) BREACH OF ORAL CONTRACT; (3) ACCOUNT STATED;
(4) BREACH OF THE IMPLIED COVENANT OF GOOD FAITH AND FAIR DEALING; (5) UNJUST ENRICHMENT [11
U.S.C. § 105]; (6) TURNOVER OF PROPERTY OF THE ESTATE [11 U.S.C. § 542]; AND (7) DISALLOWANCE OF
CLAIMS [11 U.S.C. § 502(d)]
                                                                        NATURE OF SUIT
                1XPEHUXSWRILYH  ER[HVVWDUWLQJZLWKOHDGFDXVHRIDFWLRQDVILUVWDOWHUQDWLYHFDXVHDVVHFRQGDOWHUQDWLYHFDXVHDVHWF

        FRBP 7001(1) – Recovery of Money/Property                                     FRBP 7001(6) – Dischargeability (continued)
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  2                                                                                   Ƒ  'LVFKDUJHDELOLW\ D  GRPHVWLFVXSSRUW
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        FRBP 7001(2) – Validity, Priority or Extent of Lien
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                                                                                      FRBP 7001(7) – Injunctive Relief

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        FRBP 7001(3) – Approval of Sale of Property                                   Ƒ ,QMXQFWLYHUHOLHI±LPSRVLWLRQRIVWD\
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        FRBP 7001(4) – Objection/Revocation of Discharge
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                                                                                      Ƒ 6XERUGLQDWLRQRIFODLPRULQWHUHVW
        FRBP 7001(5) – Revocation of Confirmation
 Ƒ 5HYRFDWLRQRIFRQILUPDWLRQ                                                     FRBP 7001(9) Declaratory Judgment
                                                                                      Ƒ 'HFODUDWRU\MXGJPHQW
        FRBP 7001(6) – Dischargeability
 Ƒ 'LVFKDUJHDELOLW\ D     $ SULRULW\WD[FODLPV             FRBP 7001(10) Determination of Removed Action
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       DFWXDOIUDXG                                                           Other
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      Case 6:19-ap-01112-MH                 Doc 1 Filed 08/06/19 Entered 08/06/19 13:56:04                               Desc
                                            Main Document    Page 21 of 21
 B1040 (FORM 1040) (12/15)

                   BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES
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Mitchell C. Nelson                                6:19-bk-11189-MH
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CENTRAL DISTRICT                                                      RIVERSIDE DIVISION                 HONORABLE MARK D. HOULE
                                      RELATED ADVERSARY PROCEEDING (IF ANY)
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6,*1$785(2)$77251(< 253/$,17,)) 


 /s/ Lauren Raya


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August 6, 2019
                                                                      Lauren Raya


                                                         INSTRUCTIONS

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 Plaintiffs DQGDefendants.*LYHWKHQDPHVRIWKHSODLQWLIIVDQGGHIHQGDQWVH[DFWO\DVWKH\DSSHDURQWKHFRPSODLQW

 Attorneys.*LYHWKHQDPHVDQGDGGUHVVHVRIWKHDWWRUQH\VLINQRZQ

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 Demand. (QWHUWKHGROODUDPRXQWEHLQJGHPDQGHGLQWKHFRPSODLQW

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